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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                            :      CRIMINAL ACTION
                                                    :
                v.                                  :
                                                    :
MEHDI NIKPARVAR-FARD                                :       No. 18-101-1
AVROM BROWN                                         :                 -3
LORETTA BROWN                                       :                 -4
FREDERICK REICHLE                                   :                 -5
MITCHELL WHITE                                      :                 -6
JASON DILLINGER                                     :                 -7
DEBRA CORTEZ                                        :                 -8
WILLIAM DEMEDIO                                     :                 -9
NEIL CUTLER                                         :                 -11
SAMANTHA HOLLIS                                     :                 -12



                                               ORDER


                 AND NOW, this 8th day of September, 2021, upon consideration of

Defendant Avrom Brown’s Motion to Continue (Doc. No. 299), and in accordance with Standing

Order of Chief Judge Juan R. Sanchez dated June 7, 2021, In Re: Twelfth Extension of

Adjustments to Court Operations Due to the Exigent Circumstances Created by COVID-19, the

Court finds, pursuant to 18 U.S.C. § 3161 (h)(7)(A), that (1) the above action cannot proceed to

trial as previously scheduled and should be continued because the failure to continue the trial

date would likely make such proceeding impossible or would result in a miscarriage of justice;

and, therefore, (2) the ends of justice served by this continuance outweigh the other interests of

the public and the defendant in a speedy trial commencing on the date previously set.

                 Accordingly, it is hereby ORDERED that the trial in this matter as to all

remaining defendants is CONTINUED to January 10, 2022. The period from the date of this
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Order to the next trial date shall be EXCLUDED from all computations of time under the

Speedy Trial Act, 18 U.S.C. § 3161.

        IT IS FURTHER ORDERED that two weeks prior to the trial date, the parties for such

date shall file and serve the following:

                         a. Proposed jury voir dire questions

                         b. Proposed jury instructions with citation of authority for each

instruction (ONE (1) instruction PER PAGE). If a model jury instruction taken, for instance,

from the published Third Circuit Model Instructions or from O’Malley, Grenig & Lee, Federal

Jury Practice and Instructions, or Sand, Modern Federal Jury Instructions, is submitted, the

parties shall state whether the proposed jury instruction is unchanged or modified from the

standard text form. If a party modifies a model jury instruction, the modification shall be set

forth in the following manner with additions underlined and deletions placed in brackets;

                         c. Proposed verdict slip;

                         d. Trial memorandum; and,

                         e. Copies of all materials identified in sub-paragraphs a through e above

shall be served on the other parties and on the Court (Chambers, Room 10613) when the

originals are filed.




                                                                BY THE COURT:


                                                                 /s/ Gene E.K. Pratter
                                                                GENE E.K. PRATTER
                                                                United States District Judge
